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                    EXHIBIT 4
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Contact
                                  Dina Mack
www.linkedin.com/in/dina-         Deputy General Counsel and Chief Litigation Officer at Quest
mack-9a121047 (LinkedIn)          Diagnostics
                                  Maplewood, New Jersey


                                  Summary
                                  Versatile legal executive with extensive experience with Quest
                                  Diagnostics, AT&T, Sidley Austin and Simpson Thacher and Bartlett.
                                  Expertise includes:


                                  -- Developing and managing corporate legal teams with diverse
                                  subject matter expertise
                                  -- Advising officers and directors on significant legal and compliance
                                  issues
                                  -- Litigating and resolving complex domestic and international
                                  disputes
                                  -- Managing government and internal investigations
                                  -- Negotiating sophisticated commercial agreements
                                  -- Handling international, federal and state regulatory and
                                  compliance matters
                                  -- Budgeting responsibility for legal department



                                  Experience
                                  Quest Diagnostics
                                  Deputy General Counsel and Chief Litigation Officer
                                  February 2007 - Present
                                  Secaucus, NJ

                                  Supervise a team of attorneys, paralegals and executive security personnel.
                                  Lead counsel on litigation, compliance and employment issues with rotating
                                  supervisory responsibilities for other areas, including international and
                                  domestic operations. Report to the Board of Directors on litigation and
                                  other matters. Advise senior management on legal, compliance and risk
                                  management issues. Supervise all significant internal and government
                                  investigations. Work with finance team on SEC materiality, disclosure and
                                  reserve issues, and report to outside auditors on all litigation matters. Select
                                  and aggressively manage outside counsel to improve quality and reduce
                                  litigation costs. Manage legal department's budget. Review and negotiate
                                  a wide variety of agreements, including complex commercial, IP licensing
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                        and employment agreements. Partner with Government Affairs to advance
                        company's interests in connection with rulemaking proceedings and legislation.
                        Litigation areas include: intellectual property, securities, antitrust, privacy,
                        employment, qui tam, bankruptcy, and complex commercial suits, state and
                        federal government fraud and abuse investigations, and professional and
                        product liability actions.




                        Education
                        Duke University School of Law
                        Doctor of Law (J.D.) · (1984 - 1987)


                        Georgetown University
                        Bachelor of Arts (B.A.), Economics · (1979 - 1983)




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